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   NTKN, INC. and HUNG KY

                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAI‘I
   TRENDTEX FABRICS, LTD.,                  Case No. 1:22-cv-00287-MWJS-KJM
                Plaintiffs,
         vs.                                Honorable Micah W.J. Smith
   NTKN, INC., a Hawaii corporation;
   HUNG KY, an individual; SHAKA            DECLARATION OF LENA N.
   TIME, INC., a Hawaii corporation;        BACANI
   TROPIHOLIC, INC., a Florida
   corporation,
                Defendants.
   NTKN, INC., a Hawaii corporation,
               Counterclaim Plaintiff,
       vs.
   TRENDTEX FABRICS, LTD.,
   a Hawaii corporation,
               Counterclaim Defendant.
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                                     DECLARATION
         I, Lena N. Bacani state and declare as follows:
         1.        I am a partner in the law firm, Loza & Loza LLP (“Loza”), and am
   admitted before this Court pro hac vice. I am counsel for NTKN, Inc. and Hung
   Ky (collectively, “NTKN”) and have personal knowledge of the facts set forth
   herein.
              2. Attached hereto as Exhibit 1 is a redacted version of the settlement
   agreements between Plaintiffs and NTKN’s former co-defendants in the present
   action. NTKN has filed a Motion to File Under Seal, or in the Alterative, File
   Publicly Settlement Agreements. (Dkt. 174.)
              3. Attached hereto as Exhibit 2 is a true and correct copy of excerpts
   from the deposition of Hung Ky.
              4. Attached hereto as Exhibit 3 is a true and correct copy of excerpts of
   the Rule 30(b)(6) deposition of Dwight Hamai.
              5. Attached hereto as Exhibit 4 is a true and correct copy of excerpts of
   NTKN’s First Set of Requests for Production of Documents.
              6. Attached hereto as Exhibit 5 is a true and correct copy of excerpts of
   the expert report of Linda Bradley.
              7. Attached hereto as Exhibit 6 are true and correct copies of several
   examples of Trendtex and HawaiiPrint invoices from purchases of fabrics with the
   subject surface designs purchased by NTKN’s predecessor, Ky’s International
   Fabrics, Inc.
              8. NTKN was never informed by counsel for Trendtex Fabrics and
   Trendtex Holding that Trendtex Fabrics has assigned the the rights to the asserted
   copyrights until after Plaintiffs filed the Second Amended Complait.




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         I declare under penalty of law that the foregoing is true and correct to the

   best of my knowledge.

         DATED: March 22, 2024.




                                          Lena Bacani




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                             EXHIBIT 1
     DOCUMENT FILED UNDER SEAL
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                             EXHIBIT 2
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                                                                               2

  1     APPEARANCES:
  2     For Plaintiffs:
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  7
  8                     LEO Y. SHIMIZU, ESQ -- via speakerphone
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 25

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                                                                              11

  1     THE REPORTER:     Our disclosure is complete and available for
  2     everyone to review.      It will be attached to the deposition
  3     transcript.
  4                THE VIDEOGRAPHER:     This is the deposition of
  5     30(b)(6) witness, in the matter of Trendtex Fabrics
  6     Ltd., et al. versus NTKN, Inc., et al.
  7                We are located at Chong, Nishimoto, Sia, Nakamura,
  8     & Goya; 1003 Bishop Street, Suite number 2500; Honolulu,
  9     Hawai'i.
 10                My name is Jason Moore, video specialist for
 11     Certified Legal Video Services.
 12                Will counsel please state your names.
 13                MR. FU:   Edward Fu for the Plaintiffs.
 14                THE INTERPRETER:     Candy Choi, Cantonese
 15     interpreter for Mr. Ky.
 16                THE WITNESS:    Hung Ky from NTKN
 17     Incorporation.
 18                MR. FUJICHAKU:     This is Rex Fujichaku,
 19     Counsel for NTKN, Inc. and Mr. Ky.         And also on the
 20     line is Lena Bacani, counsel for NTKN and Mr. Ky.
 21                MR. GOTO:    Hi, Steve Goto, Counsel for
 22     Counterclaim Defendant, Trendtex Holdings, LLC.
 23                THE VIDEOGRAPHER:     Thank you, Counsel.
 24                MR. FU:   Oh, and we also have Leo Shimizu on
 25     the line, also for the Plaintiffs as well.

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                                                                              24

  1     company, why then did you switch over to NTKN?
  2         A     Because changing to a new name will make all
  3     the documents more clear, not confusing.
  4         Q     And so was everything else regarding business
  5     operations essentially unchanged?
  6               MR. FUJICHAKU:      Objection; vague and
  7     ambiguous.
  8   BY MR. FU
  9         Q     All right.     Did you -- so as a result of
 10     switch -- of the transition to NTKN, was there any
 11     change to the garments that were made?
 12         A     No.
 13         Q     Were there any -- did the inventory -- any
 14     remaining inventory or supplies from the Ky
 15     corporation carry over to NTKN?
 16         A     Correct.
 17         Q     And were all the employees the same?
 18         A     Different, but they all gone.
 19         Q     How about the customers, did they change?
 20         A     No.
 21         Q     And how about liabilities?
 22         A     What do you -- what kind of liability?
 23         Q     Did the business have any debts or other
 24     financial obligations that carried over?
 25               MR. FUJICHAKU:      Objection; calls for a legal

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                                                                              28

  1         A     Me.   I decide.
  2         Q     Was this also -- did you also make these same
  3     decisions at the Ky's corporation?
  4         A     No.   My ex-wife decide.
  5         Q     And so what was -- what -- what duties did
  6     you perform at the old Ky's corporation then?
  7         A     I does -- I did sales.
  8         Q     Are you current -- are you currently involved
  9     in the garment business, clothing business, through
 10     any other companies aside from NTKN?
 11         A     Can you elaborate a little bit more clearly.
 12         Q     First, do you have any -- any side companies,
 13     or do you make garments through any other company
 14     that's not related to NTKN?
 15         A     No.
 16         Q     So it sounds like at least some of the
 17     supplies, you know, in your inventory may have -- you
 18     know, some of the garments may have carried over from
 19     -- from the Ky's corporation to NTKN.         Do you have any
 20     objection if I sort of refer to them sort of
 21     collectively as Ky or would you prefer -- or do you --
 22     or would that be inaccurate?
 23               MR. FUJICHAKU:      Objection; I think that
 24     conflation may be confusing for the record, so vague
 25     and ambiguous.

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                                                                              53

  1     and then sell inventory?
  2           A    We will do each size -- we will do 10 for
  3     each size.     And then if somebody order, then we will
  4     -- we have the products for them.
  5           Q    Has NTKN or the Ky's corporation, did they
  6     ever buy another garment maker's unused fabric?
  7           A    No.
  8           Q    So if you have extra fabric that, you know,
  9     hasn't -- you know, no one's ordered it in a while, do
 10     you ever throw it away?
 11           A    No.    Just it will be hang around in the
 12     warehouse.
 13           Q    So, does it just stay in the warehouse
 14     forever until it's used?
 15           A    Yes.    I have fabric that is over 20 years is
 16     still there.
 17           Q    I hope the rats and the moths don't get to
 18     it.
 19           A    No, just the ants.
 20           Q    Okay.   All right.     So, but are you aware that
 21     you gave us some -- provided us with some photographs
 22     of fabric rolls?
 23           A    Yes.
 24           Q    So Exhibit 2, so this is a composite we made
 25     of an image and of the properties from the original

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                              EXHIBIT 3
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                              EXHIBIT 4
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    Attorneys for Defendants/Counterclaim Plaintiff
    NTKN, INC. and HUNG KY

                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF HAWAIʻI


     TRENDTEX FABRICS, LTD., a Hawaii                 Case No. 1:22-cv-00287-LEK-KJM
     Corporation; and TRENDTEX HOLDING,
     LLC, a Hawaii limited liability company;         DEFENDANT NTKN, INC.’S FIRST SET
                  Plaintiffs,                         OF REQUESTS FOR PRODUCTION TO
                                                      PLAINTIFF TRENDTEX FABRICS,
           vs.                                        LTD.
     NTKN, INC., a Hawaii corporation; HUNG
     KY, an individual; SHAKA TIME, INC., a
     Hawaii corporation; LEILANI’S ATTIC,
     INC., a California corporation; and HAWAII
     HANGOVER, LLC, a Missouri limited
     liability company; MARK MADL, an
     individual D/B/A CITIES FASHION;
                  Defendants.
     NTKN, INC., a Hawaii corporation,
                  Counterclaim Plaintiff,
            vs.
     TRENDTEX FABRICS, LTD., a Hawaii
     corporation,
                  Counterclaim Defendant.
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           REQUEST NO. 129: All documents or communications stating or otherwise indicating

    that the fabric sold by You to NTKN that displayed the 73285 Surface Design was completely

    exhausted before the manufacture of the garments sold by NTKN from January 2019 until the

    present that allegedly displayed the same or similar design.

           REQUEST NO. 130: All documents or communications stating or otherwise indicating

    that the fabric sold by You to NTKN that displayed the 73106 Surface Design was completely

    exhausted before the manufacture of the garments sold by NTKN from January 2019 until the

    present that allegedly displayed the same or similar design.

           REQUEST NO. 131: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-104-076 to any person or entity.

           REQUEST NO. 132: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-104-023 to any person or entity.

           REQUEST NO. 133: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-104-025 to any person or entity.

           REQUEST NO. 134: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-107-464 to any person or entity.

           REQUEST NO. 135: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-190-261 to any person or entity.

           REQUEST NO. 136: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 624-818 to any person or entity.

           REQUEST NO. 137: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 635-755 to any person or entity.

           REQUEST NO. 138: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 486-537 to any person or entity.



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           REQUEST NO. 139: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 595-752 to any person or entity.

           REQUEST NO. 140: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 554-340 to any person or entity.

           REQUEST NO. 141: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 520-767 to any person or entity.

           REQUEST NO. 142: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-104-074 to any person or entity.

           REQUEST NO. 143: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 565-372 to any person or entity.

           REQUEST NO. 144: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-185-736 to any person or entity.

           REQUEST NO. 145: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-069-408 to any person or entity.

           REQUEST NO. 146: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 497-009 to any person or entity.

           REQUEST NO. 147: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-069-405 to any person or entity.

           REQUEST NO. 148: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-823-989 to any person or entity.

           REQUEST NO. 149: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-823-995 to any person or entity.

           REQUEST NO. 150: All licenses, contracts, or other agreements granting rights in U.S.

    Copyright Registration No. VAu 1-104-092 to any person or entity.



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                              EXHIBIT 5
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                   EXPERT REPORT OF LINDA BRADLEY
                          Trendtex Fabrics, Ltd.; Trendtex Holding LLC
                                                v.
         NTKN, Inc.; Hung Ky; Shaka Time, Inc.; Leilani’s Attic, Inc.; Hawaii Hangover, LLC
                           Case No. 1:22-cv-00287 (District of Hawaii)



    I, Linda A. Bradley, hereby state as follows: 1

    I.       Qualifications

             1.     I received a BA in Home Economics (minor in Anthropology) in 1970 from
                    California State University, Chico. In 1980, I received an MA in Human
                    Ecology with a focus on clothing and culture. I completed additional
                    graduate work in Sociology at the University of California (Davis) where I
                    focused on cultural identity and historic/comparative research methods.
                    This resulted in another MA in 1988 and a PhD in 1992.

             2.     I have taught at the University level for over 40 years (including 20 years as
                    a tenured Professor prior to my retirement as Professor Emerita). I focused
                    on courses in apparel merchandising, design, and textiles. My teaching
                    experience includes over 10 years at the University of Hawaii where I
                    concentrated on Hawaiian culture and how it is expressed in the designs of
                    textiles and apparel design. I developed several courses on textiles and
                    clothing directed to preparing students to work in Hawaii’s Aloha attire
                    industry. During this time, I wrote Aloha Attire: Hawaiian Dress in the
                    Twentieth Century, a comprehensive text on the history of Hawaiian textiles
                    and the wide range of aloha attire. I also co-wrote the award-winning book
                    The Art of the Aloha Shirt during this period. At the University of Hawaii, I
                    was the Curator of the Historic Costume and Textiles Collection.



    1
     It is my understanding (based on representations from NTKN’s counsel), that Trendtex
    has not provided certain information or documents requested by NTKN. Such
    information and documentation may be material and may impact my analysis. I am
    basing my opinions expressed in this report on the information identified herein. Should
    additional information and documentation become available, I reserve the right to amend
    or supplement this Report.
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                •   “Rather, it seems clear that Hung Ky has taken his business, along with
                    the Plaintiff’s intellectual property, to another printer.” [Young Report,
                    ¶ 105].

                •   “Side by side images throughout this report provide irrefutable
                    evidence that all twenty-six of the Plaintiff’s designs were infringed.”
                    [Young Report, ¶ 106].

                •   “The Defendant’s designs are clearly the creative and intellectual
                    property of the Plaintiff.” [Young Report, ¶ 106].

                •   “[I]t is also clear that while using the same intellectual property,
                    products sold by the Defendant are not the result of the Plaintiff’s
                    screens.” [Young Report, ¶ 107].

                •   “[T]he design is clearly Plaintiff’s protected intellectual property.”
                    [Young Report, ¶ 108].

          37.   Ms. Young’s expert report is filled with numerous statements like the
                examples above that express ultimate facts or legal conclusions. Ms. Young
                does not explain her reasoning, support, or analysis methodology she used
                to come to her conclusions of copyright infringement and scope of
                intellectual property rights, or any of the corresponding legal standards or
                tests. She also does not identify particular elements in each of the Subject
                Designs which may, or may not be, subject to copyright protection.

       B. Ms. Young’s Report fails to address or account for how the design and colorway
          selection process may result in alternative colorways.

          38.   It is common industry practice that, once a design is finalized, the next step
                in production is to choose a group of possible colorways for the garments
                that will feature the design. Often, manufacturers select multiple colorways
                for a given design, and will print yardage for each colorway for
                consideration. These are referred to in the industry as “samples.”
                Manufacturers often select a subset of the printed colorway samples to go
                into full production and enter the chosen production colorways into the
                print record or print history. Typically, the unused samples will be set
                aside. This excess production is often unaccounted for in the print history.

          39.   This process may result in sample or excess fabric that may not appear on
                a Print History and may not have otherwise been put into production by


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               the manufacturer. Producing garments from this fabric may result in a
               colorway that was not widely produced by the manufacturer but that
               nonetheless was printed by the manufacturer using the manufacturer’s
               screen.

         40.   Excess production also comes from miscommunication between the
               purchaser and the producer as the purchaser tries to explain what is wanted
               in design and color. It can be particularly troublesome if there is a difference
               in language between the parties. There may be no record of these excess
               fabrics at all. If there is a record in a print history, it may show up as a
               “discontinued” or “cancelled” order and may result in excess fabric in a
               colorway that is not otherwise intended to be available to be ordered by
               garment manufacturers.

         41.   Regardless of the case of the excess production, such fabric is rarely wasted.
               It is not uncommon for the fabric to be provided to or sold to the purchaser
               of the intended colorways.

         42.   I understand from NTKN’s CEO, Hung Ky, that NTKN follows this
               common industry practice in Hawaii. Specifically, Mr. Ky would select 5-7
               test colors for a given design. Trendtex would then print the chosen designs
               on fabrics using the chosen colorways, creating samples for Mr. Ky’s
               consideration. After reviewing the samples, NTKN would place orders
               with HawaiiPrint or Trendtex for a selected subset of colorways. Trendtex
               would send the designs to other companies overseas to print the fabrics,
               which would be packed in boxes and delivered to NTKN.

         43.   I further understand from Mr. Ky that the precision of designs and fabrics
               was not consistently maintained throughout the order history, meaning
               that there could be variations in design, fabric composition and colors
               between samples, production fabrics, and reorders ordered from the same
               source.

         44.   It is important to understand that the way most of Hawaii’s apparel
               companies have operated is quite different from those on the US Mainland.
               Most Hawaiian apparel companies have been very small with only a
               handful of employees and garment production was sent out to independent
               contractors. Agreements often were made with a handshake. Mr. Ky’s
               deposition testimony regarding how he conducts business, and has done



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                   for decades—with limited records and documentation—is consistent with
                   how the small mom & pop apparel companies in Hawaii have operated.

       C. Ms. Young’s Report fails to address or account for NTKN’s inconsistent and
          mistaken labelling of colorways.

          45.      NTKN’s system for labelling the colorways for its fabrics is inconsistent
                   and, at times, inaccurate. As a result, the written description or
                   identification of the colorway for a particular garment produced by NTKN
                   may not match the actual colorway for the garment which may lead to a
                   mismatch with Trendtex’s identification of the colorway of the fabric from
                   which the garment was produced.

                C.1 – Mislabeling the colorway

          46.      There are numerous instances of NTKN mislabeling the color for its
                   products. Some examples are displayed below in Table 1. In these
                   examples, the colorway in the product description does not reflect the color
                   of the garment.

                                                 Table 1




                      [NTKN 540]                                        [NTKN 540]
        Description is “W” but shirt is not white          Description is W but shirt is not white




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          53.    NTKN’s mislabeling of colorways also underscores the possibility that it
                 has mislabeled the type of fabric associated with its various products. Ms.
                 Young’s report does not take this into account.

       D. Ms. Young’s Report fails to address or account for the subjective nature of labelling
          colors.

          54.    Trendtex and NTKN appear to have taken an imprecise approach to
                 identifying and labeling the colorways for their respective goods. This
                 practice is not uncommon in the apparel industry in Hawaii, which tends
                 to be less rigid than in other locales across the United States. Because of the
                 subjective nature of naming colors, this approach has led to contradictory
                 categorizations of colorways. As a result, the written description or
                 identification of the colorway for a garment produced by NTKN may not
                 match Trendtex’s identification of the colorway of the fabric from which the
                 shirt was produced.

          55.    For example, the prominent garments in the images below (Table 4) are all
                 identified as NB or Navy Blue. However, there are significant variations in
                 the color of the respective garments.

                                             Table 4




          NTKN 0000518                      NTKN 518                      NTKN 519




             NTKN 519                       NTKN 520                      NTKN 520


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       F. Ms. Young’s Report fails to account for textile and fashion industry norms specific
          to Hawaii.

          70.    In her Report, Ms. Young fails to consider the circumstances of textile
                 manufacturing and retailing in Hawaii specifically. Instead, Ms. Young
                 appears to apply standards and assumptions that might apply to
                 manufacturing and retailing in mainland U.S. but that might not apply in
                 Hawaii.

          71.    For example, Ms. Young does not acknowledge or account for the general
                 differences in record-keeping or documentation practices between
                 mainland United States and Hawaii.

          72.    As a result, in Hawaii, it is not uncommon for a garment company to have
                 little or no documentation for print histories, purchases, sales, returns,
                 inventory, design process, source of material, or date of receipt of material.

          73.    In Hawaiian fashion manufacturing and retailing, it is common for leftover
                 fabrics from prior seasons, samples, or other non-production sources to be
                 preserved. This leftover fabric is often given to employees. or if there is a
                 large quantity, can be sold wholesale.

          74.    Long periods between the purchase or acquisition of fabric and the
                 subsequent manufacture of the fabric into finished goods are not
                 uncommon in Hawaii. Apparel retailers do not follow the typical purchase
                 patterns of companies focusing on current trends. Some of the trends in
                 aloha shirts and other forms of aloha attire have been virtually unchanged
                 for decades. Because Hawaiian prints stay in style for long periods,
                 purchasing or stockpiling large quantities to use over an extended period
                 is a common strategy for Hawaii retailers.

          75.    In her Report, Ms. Young appears to incorrectly assume that “just in time”
                 production, which has become standard in the mainland United States,
                 applies in Hawaii. “Just in time” (or JIT) production is a management and
                 production strategy aimed at increasing efficiency and decreasing waste by
                 only receiving fabric and goods as needed for production and not
                 stockpiling goods and materials in inventory. In Hawaii, JIT production is
                 a relatively new approach and is generally only used by larger companies
                 seeking to make timely resort wear aimed at a national audience. By
                 contrast, most smaller retailers rely on traditional strategies. While fashions

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                 in the rest of the United States change very rapidly—generally four times
                 annually—traditional Hawaiian designs change more slowly, often every
                 few years rather than months. This allows Hawaii’s traditional
                 manufacturers to acquire and stockpile large quantities of materials when
                 prices are favorable and incorporate them slowly into the business.

          76.    In my experience, it is common for a company (like NTKN) to buy and
                 stockpile fabric until needed and then manufacture a few garments at a
                 time, as needed, over the following years. This is a common strategy for
                 smaller manufacturers and retailers in Hawaii. I understand NTKN
                 employs this practice and continues to have excess fabric purchased from
                 Hawaiiprint and Trendtex in its inventory as shown in documents
                 provided to me, including an inventory record (NTKN0000622) and
                 photographs of rolls of fabric that I understand have been produced in this
                 litigation.

          77.    Many retailers have transitioned to a more “direct-to-consumer” approach
                 through online sales. In these instances, the garments may not actually be
                 produced until the sale is made. I understand NTKN added direct-to-
                 consumer online sales in response to the restrictions caused by the COVID
                 pandemic. I also understand that NTKN manufactures and sells garments
                 on an on-demand basis.

          78.    Additionally, the terminology used in the portions of the Print History
                 provided by Ms. Young in her report may indicate excess production. For
                 example, Ms. Young includes a portion of the “73627 Print History” which
                 indicates that Order No. 73497 for that design was “CANCELED.” This is a
                 commonly used method to indicate excess production of fabric for this
                 design. The colorways for this cancelled order are not identified.

       G. Ms. Young’s Report does not adequately account for print variations caused in the
          screenprinting process.

          79.    In her Report, Ms. Young fails to account for the variations in resulting
                 prints that can occur during the screenprinting process, particularly hand
                 printing methods or methods that involve potentially variable pressure as
                 the dye is pushed through the screen onto the fabric. The Report
                 acknowledges that variable pressure applied during the printing process
                 could cause “fluctuations,” but concludes that such variations would be
                 “miniscule.” [Young Report, ¶ 16]. The Report also concludes that “the

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               variations found in the Defendant’s work is beyond the realm of reasonable
               variations or differences” caused by variations in print pressure. [Young
               Report, ¶ 22]. These conclusions reference variable print pressure but
               dismiss it without actually analyzing this possible source of variation. As
               such, when the Young Report states that “[s]creen pressure has been
               considered in this analysis,” I must respectfully disagree. [Young Report, ¶
               110].

         80.   Inconsistent pressure against the squeegee, the viscosity of the dye, and the
               cleaning and drying of screens between uses can all result in variations of
               the resulting print, even if the screen is the same. Such differences can
               include variations in color saturation, shading, location, density, and shape
               of the applied dye.

         81.   The result is that garments produced from fabric from the same run may
               have variations between them resulting from differences in pressure during
               the different applications of dye. Additionally, shirts produced from fabric
               produced from different runs may also have variations, even if the same
               screen was used.

         82.   In her Report, Ms. Young concludes that certain “differences are not a
               function of uneven printing processes; these are a function of different
               screens and different print houses.” [Young Report, ¶ 75]. Ms. Young also
               states that certain variations are “not the product of poor printing practice,
               this is an entirely different engraving or screen, from a different print
               house.” [Young Report, ¶ 77].

         83.   Respectfully, I disagree with those assessments. The screen printing process
               allows for errors or variations in printing consistent with those that Ms.
               Young has identified in her Report. These printing variations stem from
               varying viscosities of the dye applied, different pressure applied as the dye
               passes through the screen, or whether screens are adequately cleaned and
               dried between uses. The humidity and conditions in the printing facility
               can also impact the consistency of the prints from the same screen.

         84.   From my analysis, the alleged differences identified in relation to Subject
               Products 458, 459, 470, and 819 are consistent with variations resulting from
               uneven pressure applied to the squeegee while moving dye across the
               screen.



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         85.   I also disagree with Ms. Young’s assessment that “printing is a precise art –
               these variations can only occur from a different set of screens, from a
               different company.” [Young Report, ¶ 88]. While roller printing is a more
               precise process, screenprinting by hand has a high potential for human
               error. In such processes, even a sneeze can cause variations even if the same
               screen is used.

         86.   I also disagree with Ms. Young’s assessment that “there is no way to
               overdye or modify the color once dyed.” [Young Report, ¶ 30]. Most screen
               prints start with pure white fabric and all color is applied by dye during the
               printing process. However, screenprinting can be accomplished using
               fabric that has already been dyed a plain light color. In these circumstances,
               additional color or dye can be applied to the colored fabric following the
               usual process.

         87.   Some of the designs at issue have 12-15 different colors. For example, the
               image below (from paragraph 73 of Ms. Young’s report) appears to have 15
               different colors (as represented by the colored rectangles at the bottom of
               the image). These indicate the different color dyes applied at different
               stages in the printing process. As the number of different dyes increase, the
               opportunity and likelihood of variations also increases.




                           [Paragraph 73 of Ms. Young’s Report]


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                              EXHIBIT 6
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                        TRENDTEX FABRICS, Limited                                                                                                                                    INVOICE

                         1928 Kalanl Street ~ Honolulu. Hawaii 96819-3270
                                                                                                                 ~   (808) 84 1356                                       invoice
                                                                                                                                                                         Number
                                                                                                                                                                                           T463 8 9
   Sold Tor
   Ky's International Fashion                                              1161
   819 Moowaa Street Rm 207
   Honolulu,       Hl   96819                                                                                      o r         n        I        ~JlllV 8 8 cgtlt
                                                                                                                                   Terms          Net 60


   Purchase Order             21641
      Salesperson             Donna
                                                                                                               Pay this invoice to Trendtex Fabrics
   Customer Order             12639
              Ship To
           Vessel:            IkOma V19 (L1)

     Vessel ETA               12i22/2007

      Print Name: 205T Batik Panel Hibiscus 805

                                               Ouantit Design         Description                                                                                      Price Extension
Lcolor
                                                                                                                                                                        $ 1.92             $ 1,611.84
21641 (Sage)                                        839.5 fKS-6919R +Cotton Poplin
                                                                                          Cotton Poplin                                                                 $ 1.92             $ 5,290.94
21641 (Blue)                                      2755.7 LKS-6919R
                                                    1048 KS-6919R                         Cotton Poplin                                                                 $ 1.92             $ 2,012.16
21641 (Natural)




                   invoiced Yds ~4,643.2

Total: 10 Canons (82 Pcs)                                                                                                                                       Sales Tax
                                                                                                                                                             Frt Charges
CIRS 1-10                                                                                                                                               Grand Total:                        $ 8,914.94
 "See attached packing list for details-
Arrived via Ikoma VI 9           ETA: 2007-Dec-22




 RECEIVED BY                                                                                                                                          DATE
                                A SERVICE CHARGE OF I-IIZR PER MONTH WILL BE CHARGED ON PAST DUE
                                                                                                               ACCOUNTS (ANNUAL PERCENTAGE RATE OF I ethl
                                                           A SERVICE FEE WILL BE CHARGED FOR ANY RETURNED CHECKS,
             ALL CIAILIS MUST SE MADE WITHIN ZO DAYS OF RECEIPf OF GOODS CUT PIECES ARE NOT
                                                                                                           RETURNABLE. NO RETURNS ACCEPTED WITHOUT PRIOR AUTHORIZATION.

     U S G«lcm rmp lstmns reou re anyone perlomang 'repacsalg'or tslatc ret«l sales classy mam sech rlem In a conspbuous
                                                                                                                           fasts as lepble. Indel bio, «m pemtsrlent pla courrlry ot ongln of the ponds,
                                                                                                                                                            guarantee leslnses.
                T/c blends am printed by pigmenls that are seed onto ths fabrm by blndlng mains. plgmenl pdnts are as subtem lo lading aper wash. ws do not




                                                                                                                            Scanned with CamScanner
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                HA WAIIPRINT, INC.                                                                Sales Order
                916-B Kaaahi Place
                Honolulu, HI 96817                                                              Date          S.O. No.
                Ph. 808-847-4414
                                                                                              4/23/2010        672624
                Fax 808-847-1688

            Name / Address                                         Ship To
         KY INTERNATIONAL FASHION, INC.
         819 MOOWAA STREET ¹207
         HONOLULU, HI 96817




                                                        P.O. No.              Rep            Terms          Request Date
                                                        73096-A                MA            3%CASH           5/3/2010

         Item                             Description                        Ordered   U/M      Rate         Amount
 73096             "WAIMEA SURF"
                   COTTON POPLIN FACE
 73096 61          RED                                                          1,116 yd             2.03       2,265.48T
 73096 35          AQUA                                                         1,108 yd             2.03       2,249.24T
 73096 25          PERIWINKLE                                                   1,160 yd             2.03       2,354.80T
                   INTACT CTN¹1-6 PORTION A

                                                                                                                6.869.52
 DISCOUNT                                                                                        -3.00%          -206.09
                   Sales Tax                                                                      0.50%            33.32




RECEIVED BY:
                                                                             Total                          $ 6,696.75




                                                                                                            NTKN 0000321
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                HA WAIIPRINT, INC.
                916-B Kaaahi Place
                                                                                                     Invoice
                Honolulu, HI 96817                                                            Date          Invoice   ¹
                Ph. 808-847-4414                                                            8/26/2010         61205

                Fax 808-847-1688
  Sold To                                                          shipped To
                                                     P jan%
KY INTERNATIONAL FASHION, INC.
819 MOOWAA STREET ¹207
HONOLULU, HI 96817




                                          P.O. Number            Terms      Delivery Date         Rep       S.O. No.

                                             73138
                                                     g           3%CASH         8/26/2010         MA        672864

  Quantity       Item Code                     ~
                                                   Description                      U/M     Price Each      Amount
             73138           "EWA HIBISCUS"
                                                                                                                      0.00T
                             100% RAYON POPLIN, 100X80, 40X40, WIDE
   1,148     73138 81R       BLACK                                                  yd               2.70      3,099.60T
   1,028     73138 79R       WINE                                                   yd               2.70      2,775.60T
   1,065     73138 I IR      WHITE                                                  yd               2.70      2,875.50T
                               6 INTACT CTNS. ¹19-24



                                                                                                               8,750.70
             DISCOUNT                                                                            -3.00%         -262.52




PAID IN FULL. THANK YOU VERY MUCH!
                                                                          Subtotal                            $ 8,488.18

                                                                          Sales Tax (0.5%)                       $42.44


                                                                          Total                             $ 8,530.62




                                                                                                             NTKN 0000323
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               HAWAIIPRINT, INC.                                                                      Sales Order
               740 Kohou Street
                                                                                                    Date           S.O. No.
               Honolulu, HI 96817
               Ph. 808-847-4414                                                                   10/7/2011         674139
               Fax 808-847-1688

          Name / Address                                                Ship To
        KY INTERNATIONAL FASHION, INC.
        819 MOOWAA STREET ¹207
        HONOLULU, HI 96817




                                                             P.O. No.              Rep            Terms           Request Date

                                                              73454                 MA            3%CASH           2/17/2012

        Item                              Description                             Ordered   U/M      Rate           Amount

73454              "TWO WHEELER"                                                                                           0.00T
                   100% COTTON POPLIN,133X72, 40X40,44/45"
73454 24R          SLATE                                                              1,133 yd             2.97        3,365.01T
73454 33R          SAGE                                                               1,129 yd             2.97        3,353. 13T
73454 26R          ROYAL                                                              1,126 yd             2.97        3,344.22T
                   6 INTACT CTNS. ¹1-6

                                                                                                                      10,062.36
DISCOUNT                                                                                              -3.00%            -301.87
                   Sales Tax                                                                           0.50%              48.80




RECEIVED BY:
                                                                                   Total                           $ 9,809.29




                                                                                                                   NTKN 0000324
                                                                                                                                                                                 hawaiian shirts
                          819 Moowaa street ¹207 Hooololo Hawaii 9681 7 Email: salesgkyifi corn
       Case 1:22-cv-00287-MWJS-KJM Document       176-1    Filed 03/22/24
                                                     808-853-2226          Page 39 of               p+
                                                                                        39 PageID.2191 p+
                                                Tel:              Fax: 808-853-2236  www.kyifi.corn
        MADE IN HAWAII                        ~D. MMM
            U. S.A.
                                                                   hawaiian +order Design 5hiits P~




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                                                      CR             AL-808 R                       Y
              100% Cotton $ 16.00                                100% Cotton $ 16.00
SIZE:  S, M, L, XL $ 16.00 2XL, 3XL-$1 7.00 4XL-$22.00 6XL-$26.00 8XL-31.00
   COLOR:R=RED, NB=NAVYBLUE, BL=BLUE, G=GREEN, OR=ORANGE, Y=YELLOW, W=WHITE, CR=CREAM
             P=PINK, PP=PURPLE, GA=GREY, B=BLACK, TU=TURQ, OL=OLIVE


                                                                                                                                                                           NTKN 0000559
